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Ww. PATTON CULBERTSON, PhD.
CONSULTING I ECONOMIST .

May 29, 2009

RE: Gary Brice McBay v. Harrison County, “Mississippi et al
Cause No. 1:07-CV- 1205-LG-RHW
USDC; Sou, Dist. Of Ms., Southern Division
‘Eyalnation of Economic Loss of Earning Capacity
Date of Trial: March 8, 2010; Date of Loss: November 6, 2005

Dear Mr. Braffey:

In accordance-with my uriderstanding of Federal Rule 26(a)(2)(B), this Teport « contains or
inckudes attathments of the following:
A complete statement of all opinions and the basis and reasons therefore;
The data.and. other information considered by me in forming the opinions;
_ Exhibits. to be used ; as summary of or in support of the opinions;
“My quali cations’as arvexpert and alist of all publications: authored inthe last ten years;

¢ Junderstand that I am to be compensated at my usual and customary rate of $175/hour ;

A listing of all other cases in which I have testified as an expert, either at trial or by deposition,
in the last four years.

Please consider this letter to constitute my initial and preliminary report in the matter
captioned above. It is my understanding that Mr. McBay was injured while temporarily
incarcerated as a “pre-trial detainee” at the Harrison County Adult Detention Center/F acility
located in Gulfport, Mississippi. Pursuant to your request, I have reviewed the following.

1. Ihave reviewed the information from your office sent to me via letter dated May 15,
2009. According to this information Mr. McBay was born on August 5, 1976. He was
injured on November 6, 2005. Therefore, he was 29.3 years old at that time.

EXHIBIT

tn

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MeBey ~ Economic Evaluation

3 ay wa employed « as an Independent Catastrophe
ryices, Tne.

3. Table 1. below, summarizes 1 eI t Ss information for Gary Brice McBay. :

.Soutces:.W-2. Stat ity Administration _

State Income Tax |.

| Pre-tax Earnings | Fe

as ace that there is is no State acon te in. Teas

Mr. MeBay resides if the stale yf Te

4 Table 2: splice M summarizes recent mings information for 1 Gary. R MoBay,, the

“Table 2.
Recent Earnings History
- Sources: W-2 Statements and. Social Security Administration
Year Pre-tax Earnings | Federal Income | State Income Tax Net-of-Tax
Tax, Earnings
2007 $77,744.00 .
2006 $43,358.00
2005 $167,567.00
2004 $87,915.00
2003 72,368.00
2002 $71,101

5. Ihave reviewed the May 28, 2009 report of Vocational Expert Leon Tingle, MS-LPC.
Mr. Tingle reports that Brice McBay graduated from DeSoto High School in 1995.
He received training as an insurarice adjuster and took other related courses through
Farmer’s Insurance, AllState Insurance and Pilot Insurance. He is required to
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* Michael z, Bote :

in a separ le report

6. If the | injury: yt0 Mr, McBay and theinability to work has caused him to lose valuable
‘employer- -paid benefits, I will amend this report so as to account for t sé. Table
#632 of the. U.S. Statistical Abstract, 2008 edition shows that the min um legally
required contribution by employers i is 11.4% of earnings. I have inc
calculation, for this element of economic loss using this figure.

7. if the injury to Mr, McBay has ‘caused a loss in the area of non- market, household
services, I can include a calculation for this loss in an amended report. Research by ©
Cornell University and published as Information Bulletin 3221B228, Household
Work: What's It Worth and Why? indicates that working men typically perform about

“19.75 Hours per week in household chores.

8. Ihave prepared calculations in Table 3. below which shows my pro forma analysis
for the loss of earning capacity of Mr, McBay. I would point out that all calculations
are pr eliminary at this stage of the analysis and are subject to changé upon ‘further
discovery or should facts unknown to meat this time become known. Since his _
residual ¢ earning capacity is uncertain at this time, I have simply assumed that he will
be able to return to work at the Federal minimum wage rate beginning at the date of
trial. Should further discovery and/or expert testimony prove this assumption to be
incomplete, then I will be prepared to amend this report and the resulting calculations
accordingly.
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Mich 3 ol BE. Bete

Mr. Bruffey, I “ibipe that this as is of some help to you and your client. I will be
happy to disotiss these findings wat hyou at yout convenience, .

I will schedule an appearance for trial and testimony during the week of March 8, 201 0.
‘My fee to date is attached.
~ Thank you for calling on me to assist you in this matter.
Yours truly,
Pot Oke

Dr. Pat Culbertson
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W. PATTON. CULBERTSON, Ph.D.

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Baton Rouge, Louisiana (225) 751-9591 Fax
: pmculb@bellsouth. net
June 1, 2009

Michael E. Bruffey
Brown Buchanan, BA

Atta: Charlene

796 Vieux Marche, Suite 1

P. O. Box 1377 .
Biloxi, Mississippi 39533-1377

‘RE: Gary Brice McBay v. Harrison County, Mississippi, et al
Cause No. 1:07-CV-1205-LG-RHW, USDC, Sou. Dist. Of Ms., Southern Division
Evaluation of Life Care Plan
Date of Trial: March 8, 2010; Date of Loss: November 6, 2005

Dear Mr, Bruffey:

In accordance with my understanding of Federal Rule 26(a)(2)(B), this report contains or

includes attachments of the following :

A complete statement of all opinions and the basis and reasons therefore;

The data and other information considered by me in forming the opinions;

Exhibits to be used as summary of or in support of the opinions;

My qualifications as an expert and a list of all publications authored in the last ten years;
. understand that I am to be compensated at my usual and customary rate of $175/hour;

A listing of all other cases in which I have testified as an expert, either at inal or by

deposition, in the last four years.

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You have requested that I make calculations of the present, discounted value of the Life
Care Plan prepared by Kathy Smith, MS, CRC, CRC, CLCP of Rehabilitation, Inc. It is this plan,
dated June 1, 2009, which I evaluate below. All calculations use a life expectancy of 45.4 years |
for Mr. McBay.

Growth in Medical Care Costs: Table #132 of the Statistical Abstract of the United
States: 2008, reports that over the quarter-century from 1980 — 2006 the following growth in
components of the Medical Care Price Index has occurred:
1. Medical Care — Total: 5.9% average annual increase;
2. Prescription Drugs/Supplies: 6.4% average annual increase;

y

3. Physician Services: 5.3% average annual increase.

Discount Rate: The most recent Federal Reserve Statistical Release of Selected Interest
Rates shows that the yield on 30-year-to-maturity U.S. Treasury Securities is 4.34%.
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t. recent Federal Reserve Statistical Release of Selecied
yield on 30-year-to-maturity U.S. Treasury Securities is:

axil+ annual cost of $1,226.40; “Benzodiazepine + ‘annual cost-of
discounted: value i is:$93,277. 35.
oC are. .(physisiatt provided): ‘Newroco genitive recovery.—.anti wal

The: total present: value of: the current. and! future Services: and. medications is

“S192, 088. 33.

